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                                 UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF NEW YORK


    ALEXANDER THOMAS, individually and
    on behalf of all others similarly situated,      Case No.:
                   Plaintiff,                        CLASS ACTION COMPLAINT
            v.                                       JURY TRIAL DEMANDED
    NEW YORK UNIVERSITY,

                   Defendant.


          Plaintiff Alexander Thomas (“Plaintiff”), on behalf of himself and all others similarly

situated, brings this action against Defendant, New York University (“NYU” or “Defendant”),

alleging as follows based upon information and belief and investigation of counsel, except as to

the allegations specifically pertaining to him, which are based on personal knowledge:

                                    NATURE OF THE ACTION

          1.     This class action arises out of Defendant’s failures to properly secure and safeguard

Plaintiff’s and Class Members’ sensitive personally identifiable information (“PII” or “Private

Information”).

          2.     Defendant’s data security failures allowed a targeted cyberattack to compromise

Defendant’s network (the “Data Breach”) that, upon information and belief, contained the Private

Information of Plaintiff and other individuals (“the Class”).

          3.     NYU is a private university based in New York, New York. 1

          4.     The Private Information compromised in the Data Breach included Plaintiff’s and

Class Members’ full names, test scores, majors, cities and zip codes, student applications,

demographic data, and citizenship statuses.

1
    https://www.nyu.edu/about.html
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       5.      The Data Breach was a direct result of Defendant’s failure to implement adequate

and reasonable cyber-security procedures and protocols necessary to protect individuals’ Private

Information with which it was entrusted.

       6.      Upon information and belief, the mechanism of the Data Breach and potential for

improper disclosure of Plaintiff’s and Class Members’ Private Information was a known risk to

Defendant, and thus Defendant was on notice that failing to take steps necessary to secure Private

Information from those risks left that property in a dangerous condition.

       7.      Upon information and belief, Defendant breached its duties and obligations by

failing, in one or more of the following ways: (1) failing to design, implement, monitor, and

maintain reasonable network safeguards against foreseeable threats; (2) failing to design,

implement, and maintain reasonable data retention policies; (3) failing to adequately train staff on

data security; (4) failing to comply with industry-standard data security practices; (5) failing to

warn Plaintiff and Class Members of Defendant’s inadequate data security practices; (6) failing to

encrypt or adequately encrypt the Private Information; (7) failing to recognize or detect that its

network had been compromised and accessed in a timely manner to mitigate the harm; (8) failing

to utilize widely available software able to detect and prevent this type of attack; and (9) otherwise

failing to secure the hardware using reasonable and effective data security procedures free of

foreseeable vulnerabilities and data security incidents.

       8.      Defendant impliedly understood its obligations and promised to safeguard

Plaintiff’s and Class Members’ Private Information. Plaintiff and Class Members relied on these

implied promises when seeking out and paying for education from Defendant. But for this mutual

understanding, Plaintiff and Class Members would not have provided Defendant with their Private

Information. Defendant, however, did not meet these reasonable expectations, causing Plaintiff




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and Class Members to suffer injury.

       9.      Defendant disregarded the rights of Plaintiff and Class Members (defined below)

by, inter alia, intentionally, willfully, recklessly, and/or negligently failing to take adequate and

reasonable measures to ensure its data systems were protected against unauthorized intrusions;

failing to disclose that it did not have adequately robust computer systems and security practices

to safeguard Plaintiff’s and Class Members’ Private Information; failing to take standard and

reasonably available steps to prevent the Data Breach; and failing to provide Plaintiff(s) and Class

Members with prompt and full notice of the Data Breach.

       10.     In addition, Defendant failed to properly monitor the computer network and

systems that housed the Private Information. Had it properly monitored its property, it would have

discovered the intrusion sooner rather than allowing cybercriminals a period of unimpeded access

to the Private Information of Plaintiff and Class Members.

       11.     Plaintiff’s and Class Members’ identities are now at risk because of Defendant’s

negligent conduct since the Private Information that Defendant collected and maintained is now in

the hands of data thieves.

       12.     As a result of the Data Breach, Plaintiff and Class Members are now at a current,

imminent, and ongoing risk of fraud and identity theft. Plaintiff and Class Members must now and

for years into the future closely monitor their medical and financial accounts to guard against

identity theft. As a result of Defendant’s unreasonable and inadequate data security practices,

Plaintiff and Class Members have suffered numerous actual and concrete injuries and damages.

       13.     Plaintiff and Class Members must now closely monitor their financial accounts to

guard against future identity theft and fraud. Plaintiff and Class Members have heeded such

warnings to mitigate against the imminent risk of future identity theft and financial loss. Such




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mitigation efforts included and will continue to include in the future, among other things: (a)

reviewing financial statements; (b) changing passwords; and (c) signing up for credit and identity

theft monitoring services. The loss of time and other mitigation costs are tied directly to guarding

against the imminent risk of identity theft.

       14.     Plaintiff and Class Members have suffered numerous actual and concrete injuries

as a direct result of the Data Breach, including: (a) financial costs incurred mitigating the

materialized risk and imminent threat of identity theft; (b) loss of time and loss of productivity

incurred mitigating the materialized risk and imminent threat of identity theft; (c) financial costs

incurred due to actual identity theft; (d) loss of time incurred due to actual identity theft; (g)

deprivation of value of their Private Information; and (h) the continued risk to their sensitive

Private Information, which remains in the possession of Defendant, and which is subject to further

breaches, so long as Defendant fails to undertake appropriate and adequate measures to protect it

collected and maintained.

       15.     Through this Complaint, Plaintiff seeks to remedy these harms on behalf of all

similarly situated individuals whose Private Information was compromised and/or stolen during

the Data Breach.

       16.     Accordingly, Plaintiff brings this action against Defendant seeking redress for its

unlawful conduct and asserting claims for: (i) negligence and negligence per se, (ii) breach of

implied contract, (iii) unjust enrichment, and (iv) declaratory relief.

       17.     Plaintiff seeks remedies including, but not limited to, compensatory damages,

reimbursement of out-of-pocket costs, and injunctive relief including improvements to

Defendant’s data security systems, future annual audits, as well as long-term and adequate credit

monitoring services funded by Defendant, and declaratory relief.




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       18.     The exposure of one’s Private Information to cybercriminals is a bell that cannot

be un-rung. Before this Data Breach, Plaintiff’s and the Class’s Private Information was exactly

that—private. Not anymore. Now, their Private Information is forever exposed and unsecure.

                                           PARTIES

       19.     Plaintiff Alexander Thomas is an adult individual who at all relevant times has been

a citizen and resident of Brooklyn, New York.

       20.     Defendant New York University is a university with its headquarters and principal

place of business located in New York, New York.

                                JURISDICTION AND VENUE

       21.     This Court has diversity jurisdiction over this action under the Class Action

Fairness Act (CAFA), 28 U.S.C. § 1332(d), because this is a class action involving more than 100

class members, the amount in controversy exceeds $5,000,000, exclusive of interest and costs, and

Class Members are citizens of states that differ from Defendant.

       22.     This Court has personal jurisdiction over Defendant because Defendant conducts

business in and has sufficient minimum contacts with New York.

       23.     Venue is likewise proper as to Defendant in this District under 28 U.S.C.

§ 1391(a)(1) because Defendant’s principal place of business is in this District and many of

Defendant’s acts complained of herein occurred within this District.

                                 FACTUAL BACKGROUND

A.     Defendant Knew the Risks of Storing Valuable Private Information and the
       Foreseeable Harm to Victims.

       24.     At all relevant times, Defendant knew it was storing valuable and confidential

Private Information on Defendant’s systems and would, therefore, be an attractive target for

cybercriminals.




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       25.     Defendant also knew that any breach of its systems, and exposure of the

information stored therein, would result in the increased risk of identity theft and fraud against the

individuals whose Private Information was compromised, as well as intrusion into their highly

private health information.

       26.     These risks are not merely theoretical; in recent years, numerous high-profile

breaches have occurred at businesses such as Equifax, Yahoo, Marriott, Anthem, and many others.

       27.     The Private Information stolen in the Data Breach has considerable value and

constitutes an enticing and well-known target to hackers. Hackers easily can sell stolen data as a

result of the “proliferation of open and anonymous cybercrime forums on the Dark Web that serve

as a bustling marketplace for such commerce.” 2

       28.     The prevalence of data breaches and identity theft has increased dramatically in

recent years, accompanied by a parallel and growing economic drain on individuals, businesses,

and government entities in the U.S.

       29.     Data breaches, including those perpetrated against educational institutions that

store PII in their systems, have become widespread.

       30.     Defendant’s data security obligations were particularly important given the

substantial increase in data breaches targeting educational institutions that collect and store PII,

like Defendant, preceding the Data Breach.

       31.     The breadth of data compromised in the Data Breach makes the information

particularly valuable to thieves and leaves Defendant’s current and former students especially

vulnerable to identity theft, tax fraud, medical fraud, credit and bank fraud, and more.



2
   Brian Krebs, The Value of a Hacked Company, Krebs on Security (July 14, 2016),
http://krebsonsecurity.com/2016/07/the-value-of-a-hacked-company/



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         32.     According to the U.S. Government Accountability Office, which conducted a study

regarding data breaches: “[I]n some cases, stolen data may be held for up to a year or more before

being used to commit identity theft. Further, once stolen data has been sold or posted on the [Dark]

Web, fraudulent use of that information may continue for years. As a result, studies that attempt

to measure the harm resulting from data breaches cannot necessarily rule out all future harm.” 3

         33.     Even if stolen Private Information does not include financial or payment card

account information, that does not mean there has been no harm, or that the breach does not cause

a substantial risk of identity theft. Freshly stolen information can be used with success against

victims in specifically targeted efforts to commit identity theft known as social engineering or

spear phishing. In these forms of attack, the criminal uses the previously obtained Private

Information about the individual, such as names, addresses, email addresses, and affiliations, to

gain trust and increase the likelihood that a victim will be deceived into providing the criminal

with additional information.

B.       Defendant Breached its Duty to Protect its Current and Former Students’ Private
         Information.

         34.     Upon information and belief, Defendant’s Privacy Policy is provided or made

available to every student both prior to receiving education, and upon request. 4

         35.     Defendant agreed to and undertook legal duties to maintain the protected health and

personal information entrusted to it by Plaintiff and Class Members safely, confidentially, and in

compliance with all applicable laws, including the Federal Trade Commission Act (“FTCA”), 15

U.S.C. § 45, and the Health Insurance Portability and Accountability Act (“HIPAA”). Under state



3
  United States Government Accountability Office, Report to Congressional Requesters, Personal
Information, June 2007: https://www.gao.gov/assets/gao-07-737.pdf
4
    See https://www.nyu.edu/footer/copyright-and-fair-use/digital-privacy-statement.html



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and federal law, universities like Defendant have duties to protect their students’ Private

Information and to notify them about breaches.

         36.    The Private Information held by Defendant in its computer system and network

included the highly sensitive Private Information of Plaintiff and Class Members.

         37.    On or around March of 2025, “[a] hacker took over NYU’s website for at least two

hours Saturday morning to expose over 3 million applicants names, test scores, majors and zip

codes, as well as information related to family members and financial aid dating back to at least

1989.” 5

         38.    “The page, first reported by a user on Reddit at around 10:30 a.m., included four

accessible CSV files revealing NYU admissions data since at least 1989, including over 3 million

admitted students’ applications, demographic data, city and zip codes, and citizenship status. The

files also show Common Application data, which includes details of financial aid, rejected

students, how many students applied Early Decision and personal information about siblings and

parents.” 6

         39.    Defendant had obligations created by the FTC Act, contract, common law, and

industry standards to keep Plaintiff’s and Class Members’ PII confidential and to protect it from

unauthorized access and disclosure.

         40.    Defendant did not use reasonable security procedures and practices appropriate to

the nature of the sensitive information they were maintaining for Plaintiff and Class Members,

causing the exposure of PII, such as encrypting the information or deleting it when it is no longer

needed.




5
    See https://nyunews.com/news/2025/03/22/nyu-website-hacked-data-leak/
6
    Id.



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       41.     The attacker accessed and acquired files containing unencrypted PII of Plaintiff and

Class Members. Plaintiff’s and Class Members’ PII was accessed and stolen in the Data Breach.

C.     Plaintiff and Class Members Suffered Damages.

       42.     For the reasons mentioned above, Defendant’s conduct, which allowed the Data

Breach to occur, caused Plaintiff and Class Members significant injuries and harm in several ways.

Plaintiff and Class Members must immediately devote time, energy, and money to: 1) closely

monitor their medical statements, bills, records, and credit and financial accounts; 2) change login

and password information on any sensitive account even more frequently than they already do;

3) more carefully screen and scrutinize phone calls, emails, and other communications to ensure

that they are not being targeted in a social engineering or spear phishing attack; and 4) search for

suitable identity theft protection and credit monitoring services, and pay to procure them.

       43.     Once Private Information is exposed, there is virtually no way to ensure that the

exposed information has been fully recovered or contained against future misuse. For this reason,

Plaintiff and Class Members will need to maintain these heightened measures for years, and

possibly their entire lives, as a result of Defendant’s conduct. Further, the value of Plaintiff’s and

Class Members’ Private Information has been diminished by its exposure in the Data Breach.

       44.     As a result of Defendant’s failures, Plaintiff and Class Members are at substantial

increased risk of suffering identity theft and fraud or misuse of Private Information.

       45.     Plaintiff and the Class Members have been injured by Defendant’s unauthorized

disclosure of their confidential Private Information.

       46.     Plaintiff and Class Members are also at a continued risk because their information

remains in Defendant’s systems, which have already been shown to be susceptible to compromise

and attack and are subject to further attacks so long as Defendant fails to undertake the necessary




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and appropriate security and training measures to protect its current and former students’ and

applicants’ Private Information.

                            COMMON INJURIES AND DAMAGES

       47.     As result of Defendant’s ineffective and inadequate data security practices, Plaintiff

and Class Members now face a present and ongoing risk of fraud and identity theft.

       48.     Due to the Data Breach, and the foreseeable consequences of Private Information

ending up in the possession of criminals, the risk of identity theft to Plaintiff and Class Members

has materialized and is imminent, and Plaintiff and Class Members have all sustained actual

injuries and damages, including but not limited to: (a) invasion of privacy; (b) “out of pocket”

costs incurred mitigating the materialized risk and imminent threat of identity theft; (c) loss of time

and loss of productivity incurred mitigating the materialized risk and imminent threat of identity

theft risk; (d) “out of pocket” costs incurred due to actual identity theft; (e) loss of time incurred

due to actual identity theft; (f) loss of time due to increased spam and targeted marketing emails;

(g) the loss of benefit of the bargain (price premium damages); (h) diminution in value of their

Private Information; and (i) the continued risk to their Private Information, which remains in

Defendant’s possession, and which is subject to further breaches, so long as Defendant fails to

undertake appropriate and adequate measures to protect Plaintiff’s and Class Members’ Private

Information.

A.     The Risk of Identity Theft to Plaintiff and Class Members is Present and Ongoing

       49.     The link between a data breach and the risk of identity theft is simple and well

established. Criminals acquire and steal Private Information to monetize the information.

Criminals monetize the data by selling the stolen information on the black market to other

criminals who then utilize the information to commit a variety of identity theft related crimes




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discussed below.

          50.   Because a person’s identity is akin to a puzzle with multiple data points, the more

accurate pieces of data an identity thief obtains about a person, the easier it is for the thief to take

on the victim’s identity – or track the victim to attempt other hacking crimes against the individual

to obtain more data to perfect a crime.

          51.   For example, armed with just a name and date of birth, a data thief can utilize a

hacking technique referred to as “social engineering” to obtain even more information about a

victim’s identity, such as a person’s login credentials or Social Security number. Social

engineering is a form of hacking whereby a data thief uses previously acquired information to

manipulate and trick individuals into disclosing additional confidential or personal information

through means such as spam phone calls and text messages or phishing emails. Data breaches are

often the starting point for these additional targeted attacks on the victims.

          52.   The dark web is an unindexed layer of the internet that requires special software or

authentication to access. 7 Criminals in particular favor the dark web as it offers a degree of

anonymity to visitors and website publishers. Unlike the traditional or ‘surface’ web, dark web

users need to know the web address of the website they wish to visit in advance. For example, on

the surface web, the CIA’s web address is cia.gov, but on the dark web the CIA’s web address is

ciadotgov4sjwlzihbbgxnqg3xiyrg7so2r2o3lt5wz5ypk4sxyjstad.onion. 8 This prevents dark web

marketplaces from being easily monitored by authorities or accessed by those not in the know.

          53.   A sophisticated black market exists on the dark web where criminals can buy or

sell malware, firearms, drugs, and frequently, personal and medical information like the Private


7
  What Is the Dark Web?, Experian, available at https://www.experian.com/blogs/ask-
experian/what-is-the-dark-web/
8
    Id.



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Information at issue here. 9 The digital character of PII stolen in data breaches lends itself to dark

web transactions because it is immediately transmissible over the internet and the buyer and seller

can retain their anonymity. The sale of a firearm or drugs on the other hand requires a physical

delivery address. Nefarious actors can readily purchase usernames and passwords for online

streaming services, stolen financial information and account login credentials, and Social Security

numbers, dates of birth, and medical information. 10 As Microsoft warns “[t]he anonymity of the

dark web lends itself well to those who would seek to do financial harm to others.” 11

       54.     Social Security numbers, for example, are among the worst kind of personal

information to have stolen because they may be put to numerous serious fraudulent uses and are

difficult for an individual to change. The Social Security Administration stresses that the loss of

an individual’s Social Security number can lead to identity theft and extensive financial fraud:

               A dishonest person who has your Social Security number can use it
               to get other personal information about you. Identity thieves can use
               your number and your good credit to apply for more credit in your
               name. Then, they use the credit cards and don’t pay the bills, it
               damages your credit. You may not find out that someone is using
               your number until you’re turned down for credit, or you begin to get
               calls from unknown creditors demanding payment for items you
               never bought. Someone illegally using your Social Security number
               and assuming your identity can cause a lot of problems. 12

       55.     What’s more, it is no easy task to change or cancel a stolen Social Security number.

An individual cannot obtain a new Social Security number without significant paperwork and


9
  What is the Dark Web? – Microsoft 365, available at https://www.microsoft.com/en-
us/microsoft-365-life-hacks/privacy-and-safety/what-is-the-dark-web (last visited Nov. 21, 2024).
10
  Id.; What Is the Dark Web?, Experian, available at https://www.experian.com/blogs/ask-
experian/what-is-the-dark-web/
11
   What is the Dark Web? – Microsoft 365, available at https://www.microsoft.com/en-
us/microsoft-365-life-hacks/privacy-and-safety/what-is-the-dark-web
12
   Social Security Administration, Identity Theft and Your Social Security Number, available at:
https://www.ssa.gov/pubs/EN-05-10064.pdf



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evidence of actual misuse. In other words, preventive action to defend against the possibility of

misuse of a Social Security number is not permitted; an individual must show evidence of actual,

ongoing fraud activity to obtain a new number.

          56.    Even then, a new Social Security number may not be effective, as “[t]he credit

bureaus and banks are able to link the new number very quickly to the old number, so all of that

old bad information is quickly inherited into the new Social Security number.” 13

          57.    Identity thieves can also use Social Security numbers to obtain a driver’s license or

official identification card in the victim’s name but with the thief’s picture; use the victim’s name

and Social Security number to obtain government benefits; or file a fraudulent tax return using the

victim’s information. In addition, identity thieves may obtain a job using the victim’s Social

Security number, rent a house or receive medical services in the victim’s name, and may even give

the victim’s personal information to police during an arrest resulting in an arrest warrant being

issued in the victim’s name. And the Social Security Administration has warned that identity

thieves can use an individual’s Social Security number to apply for additional credit lines. 14

          58.    According to the FBI’s Internet Crime Complaint Center (IC3) 2019 Internet Crime

Report, Internet-enabled crimes reached their highest number of complaints and dollar losses that

year, resulting in more than $3.5 billion in losses to individuals and business victims. 15

          59.    Further, according to the same report, “rapid reporting can help law enforcement




13
  Brian Naylor, Victims of Social Security Number Theft Find It’s Hard to Bounce Back, NPR
(Feb. 9, 2015), http://www.npr.org/2015/02/09/384875839/data-stolen-by-anthem-s-hackers-has-
millions-worrying-about-identity-theft
14
   Identity Theft and Your Social Security Number, Social Security Administration, 1 (2018),
https://www.ssa.gov/pubs/EN-05-10064.pdf
15
     See https://www.fbi.gov/news/stories/2019-internet-crime-report-released-021120



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stop fraudulent transactions before a victim loses the money for good.” 16 Defendant did not rapidly

report to Plaintiff and the Class that their Private Information had been stolen. Even worse,

Defendant has still not notified affected individuals of the Data Breach.

           60.   Victims of identity theft also often suffer embarrassment, blackmail, or harassment

in person or online, and/or experience financial losses resulting from fraudulently opened accounts

or misuse of existing accounts.

           61.   In addition to out-of-pocket expenses that can exceed thousands of dollars, and the

emotional toll identity theft can take, some victims must spend a considerable time repairing the

damage caused by the theft of their Private Information. Victims of new account identity theft will

likely have to spend time correcting fraudulent information in their credit reports and continuously

monitor their reports for future inaccuracies, close existing bank/credit accounts, open new ones,

and dispute charges with creditors.

           62.   Further complicating the issues faced by victims of identity theft, data thieves may

wait years before attempting to use the stolen Private Information. To protect themselves, Plaintiff

and Class Members will need to remain vigilant against unauthorized data use for years or even

decades to come.

           63.   The Federal Trade Commission (“FTC”) has also recognized that consumer data is

a new and valuable form of currency. In an FTC roundtable presentation, former Commissioner

Pamela Jones Harbour stated that “most consumers cannot begin to comprehend the types and

amount of information collected by businesses, or why their information may be commercially

valuable. Data is currency. The larger the data set, the greater potential for analysis and profit.” 17


16
     Id.
17
   Statement of FTC Commissioner Pamela Jones Harbour (Remarks Before FTC Exploring
Privacy Roundtable), http://www.ftc.gov/speeches/harbour/091207privacyroundtable.pdf



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       64.     The FTC has also issued numerous guidelines for businesses that highlight the

importance of reasonable data security practices. The FTC has noted the need to factor data

security into all business decision-making. According to the FTC, data security requires: (1)

encrypting information stored on computer networks; (2) retaining payment card information only

as long as necessary; (3) properly disposing of personal information that is no longer needed; (4)

limiting administrative access to business systems; (5) using industry-tested and accepted methods

for securing data; (6) monitoring activity on networks to uncover unapproved activity; (7)

verifying that privacy and security features function properly; (8) testing for common

vulnerabilities; and (9) updating and patching third-party software. 18

       65.     According to the FTC, unauthorized PHI disclosures are extremely damaging to

consumers’ finances, credit history and reputation, and can take time, money and patience to

resolve the fallout. The FTC treats the failure to employ reasonable and appropriate measures to

protect against unauthorized access to confidential consumer data as an unfair act or practice

prohibited by Section 5(a) of the FTC Act. 19

       66.     Defendant’s failure to notify Plaintiff and Class Members of the Data Breach

exacerbated Plaintiff’s and Class Members’ injury by depriving them of the earliest ability to take

appropriate measures to protect their Private Information and take other necessary steps to mitigate

the harm caused by the Data Breach.

B.     Loss of Time to Mitigate the Risk of Identify Theft and Fraud

       67.     As a result of the recognized risk of identity theft, when a data breach occurs, the



18
      See    generally    https://www.ftc.gov/business-guidance/resources/protecting-personal-
information-guide-business
19
   See, e.g., https://www.ftc.gov/news-events/news/press-releases/2016/07/commission-finds-
labmd-liable-unfair-data-security-practices



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reasonable person is expected to take steps and spend time to address the dangerous situation, learn

about the breach, and otherwise mitigate the risk of becoming a victim of identity theft or fraud.

Failure to spend time taking steps to review accounts or credit reports could expose the individual

to greater financial harm – yet, the resource and asset of time has been lost.

       68.     Plaintiff and Class Members have spent, and will spend additional time in the

future, on a variety of prudent actions, such as placing “freezes” and “alerts” with credit reporting

agencies, contacting financial institutions, closing or modifying financial accounts, changing

passwords, reviewing and monitoring credit reports and accounts for unauthorized activity, and

filing police reports, which may take years to discover and detect.

       69.     A study by Identity Theft Resource Center shows the multitude of harms caused by

fraudulent use of personal and financial information: 20




20
     “Credit Card and ID Theft Statistics” by Jason Steele, 10/24/2017,                            at
https://www.creditcards.com/credit-card-news/credit-card-security-id-theft-fraud-statistics-
1276.php.



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          70.    In the event that Plaintiff and Class Members experience actual identity theft and

fraud, the United States Government Accountability Office released a report in 2007 regarding

data breaches (“GAO Report”) in which it noted that victims of identity theft will face “substantial

costs and time to repair the damage to their good name and credit record.” 21 Indeed, the FTC

recommends that identity theft victims take several steps and spend time to protect their personal

and financial information after a data breach, including contacting one of the credit bureaus to

place a fraud alert (consider an extended fraud alert that lasts for 7 years if someone steals their

identity), reviewing their credit reports, contacting companies to remove fraudulent charges from

their accounts, placing a credit freeze on their credit, and correcting their credit reports. 22


21
   See “Data Breaches Are Frequent, but Evidence of Resulting Identity Theft Is Limited;
However, the Full Extent Is Unknown,” p. 2, U.S. Government Accountability Office, June 2007,
https://www.gao.gov/new.items/d07737.pdf (“GAO Report”).
22
     See https://www.identitytheft.gov/Steps



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C.        Diminution in Value of the Private Information Stolen in the Data Breach

          71.    PII and PHI is a valuable property right. 23 Its value is axiomatic, considering the

value of Big Data in corporate America and the consequences of cyber thefts include heavy prison

sentences. Even this obvious risk to reward analysis illustrates beyond doubt that Private

Information has considerable market value.

          72.    For example, drug manufacturers, medical device manufacturers, pharmacies,

hospitals and other healthcare service providers often purchase Private Information on the black

market for the purpose of target-marketing their products and services to the physical maladies of

the data breach victims themselves.

          73.    Private Information can sell for as much as $363 per record according to the Infosec

Institute. 24

          74.    An active and robust legitimate marketplace for Private Information also exists. In

2019, the data brokering industry was worth roughly $200 billion. 25 In fact, the data marketplace

is so sophisticated that consumers can actually sell their non-public information directly to a data

broker who in turn aggregates the information and provides it to marketers or app developers. 26, 27

Consumers who agree to provide their web browsing history to the Nielsen Corporation can




23
   See, e.g., John T. Soma, et al, Corporate Privacy Trend: The “Value” of Personally Identifiable
Information (“PII”) Equals the “Value" of Financial Assets, 15 Rich. J.L. & Tech. 11, at *3-4
(2009) (“PII, which companies obtain at little cost, has quantifiable value that is rapidly reaching
a level comparable to the value of traditional financial assets.”) (citations omitted).
24
   See Ashiq Ja, Hackers Selling Healthcare Data in the Black Market, InfoSec (July 27, 2015),
https://resources.infosecinstitute.com/topic/hackers-selling-healthcare-data-in-the-black-market/
25
     See https://www.latimes.com/business/story/2019-11-05/column-data-brokers
26
     See https://datacoup.com/
27
     See https://digi.me/what-is-digime/



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receive up to $50 a year. 28

        75.     As a result of the Data Breach, Plaintiff’s and Class Members’ Private Information,

which has an inherent market value in both legitimate and dark markets, has been damaged and

diminished in its value by its unauthorized and potential release onto the Dark Web, where it may

soon be available and holds significant value for the threat actors.

D.      Future Cost of Credit and Identify Theft Monitoring is Reasonable and Necessary

        76.     To date, Defendant has nothing to provide Plaintiff and Class Members with relief

for the damages they have suffered as a result of the Data Breach.

        77.     Given the type of targeted attack in this case and sophisticated criminal activity,

the type of Private Information, and the modus operandi of cybercriminals, there is a strong

probability that entire batches of stolen information have been placed, or will be placed, on the

black market/dark web for sale and purchase by criminals intending to utilize the Private

Information for identity theft crimes – e.g., opening bank accounts in the victims’ names to make

purchases or to launder money; file false tax returns; take out loans or lines of credit; or file false

unemployment claims.

        78.     Such fraud may go undetected until debt collection calls commence months, or even

years, later. An individual may not know that his or her Social Security Number was used to file

for unemployment benefits until law enforcement notifies the individual’s employer of the

suspected fraud. Fraudulent tax returns are typically discovered only when an individual’s

authentic tax return is rejected.

        79.     Furthermore, the information accessed and disseminated in the Data Breach is



28
    Nielsen Computer & Mobile Panel, Frequently Asked Questions, available at
https://computermobilepanel.nielsen.com/ui/US/en/faqen.html



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significantly more valuable than the loss of, for example, credit card information in a retailer data

breach, where victims can easily cancel or close credit and debit card accounts. 29 The information

disclosed in this Data Breach is impossible to “close” and difficult, if not impossible, to change.

       80.     Consequently, Plaintiff and Class Members are at a present and ongoing risk of

fraud and identity theft for many years into the future.

       81.     The retail cost of credit monitoring and identity theft monitoring can cost $200 or

more a year per Class Member. This is a reasonable and necessary cost to protect Class Members

from the risk of identity theft that arose from Defendant’s Data Breach. This is a future cost for a

minimum of five years that Plaintiff and Class Members would not need to bear but for

Defendant’s failure to safeguard their Private Information.

E.     Loss of Benefit of the Bargain

       82.     Furthermore, Defendant’s poor data security deprived Plaintiff and Class Members

of the benefit of their bargain. When agreeing to provide their Private Information, which was a

condition precedent to obtain education, Plaintiff as a consumer understands and expected that he

was, in part, paying for services and data security to protect the Private Information required to be

collected from him.

       83.     In fact, Defendant did not provide the expected data security. Accordingly, Plaintiff

and Class Members received services that were of a lesser value than what he reasonably expected

to receive under the bargains struck with Defendant.

F.     Injunctive Relief is Necessary to Protect Against Future Data Breaches

       84.     Moreover, Plaintiff and Class Members have an interest in ensuring that Private


29
  See Jesse Damiani, Your Social Security Number Costs $4 On The Dark Web, New Report Finds,
FORBES (Mar. 25, 2020), https://www.forbes.com/sites/jessedamiani/2020/03/25/your-social-
security-number-costs-4-on-the-dark-web-new-report-finds/?sh=6a44b6d513f1



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Information, which is believed to remain in the possession of Defendant, is protected from further

breaches by the implementation of security measures and safeguards, including but not limited to,

making sure that the storage of data or documents containing Private Information is not accessible

online and that access to such data is password protected.

        85.     Because of Defendant’s failure to prevent the Data Breach, Plaintiff and Class

members suffered—and will continue to suffer—damages. These damages include, inter alia,

monetary losses and lost time. Also, Plaintiff and Class Members suffered or are at an increased

risk of suffering:

                a.     loss of the opportunity to control how their Private Information is used;

                b.     diminution in value of their Private Information;

                c.     compromise and continuing publication of their Private Information;

                d.     out-of-pocket costs from trying to prevent, detect, and recover from identity

        theft and fraud;

                e.     lost opportunity costs and wages from spending time trying to mitigate the

        fallout of the Data Breach by, inter alia, preventing, detecting, contesting, and recovering

        from identify theft and fraud;

                f.     delay in receipt of tax refund monies;

                g.     unauthorized use of their stolen Private Information; and

                h.     continued risk to their Private Information —which remains in Defendant’s

        possession—and is thus at risk for futures breaches so long as Defendant fails to take

        appropriate measures to protect the Private Information.

G.      Lack of Compensation

        86.     Defendant fails to compensate victims of the Data Breach at all, who commonly




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face multiple years of ongoing identity theft, and it entirely fails to provide any compensation for

its unauthorized release and disclosure of Plaintiff’s and Class Members’ Private Information, out

of pocket costs, and the time they are required to spend attempting to mitigate their injuries.

        87.       Plaintiff and Class Members have been damaged by the compromise and

exfiltration of their Private Information in the Data Breach, and by the severe disruption to their

lives as a direct and foreseeable consequence of this Data Breach.

        88.       As a direct and proximate result of Defendant’s conduct, Plaintiff and Class

Members have been placed at an actual, imminent, and substantial risk of harm from fraud and

identity theft.

        89.       Further, Plaintiff and Class Members have been forced to expend time dealing with

the effects of the Data Breach and face substantial risk of out-of-pocket fraud losses such as loans

opened in their names, medical services billed in their names, tax return fraud, utility bills opened

in their names, credit card fraud, and similar identity theft. Plaintiff and Class Members may also

incur out-of-pocket costs for protective measures such as credit monitoring fees, credit report fees,

credit freeze fees, and similar costs directly or indirectly related to the Data Breach.

        90.       Specifically, many victims suffered ascertainable losses in the form of out-of-

pocket expenses and the value of their time reasonably incurred to remedy or mitigate the effects

of the Data Breach relating to:

                  a.     Finding fraudulent charges;

                  b.     Canceling and reissuing credit and debit cards;

                  c.     Purchasing credit monitoring and identity theft prevention;

                  d.     Monitoring their medical records for fraudulent charges and data;

                  e.     Addressing their inability to withdraw funds linked to compromised




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       accounts;

               f.     Taking trips to banks and waiting in line to obtain funds held in limited

       accounts;

               g.     Placing “freezes” and “alerts” with credit reporting agencies;

               h.     Spending time on the phone with or at a financial institution to dispute

       fraudulent charges;

               i.     Contacting financial institutions and closing or modifying financial

       accounts;

               j.     Resetting automatic billing and payment instructions from compromised

       credit and debit cards to new ones;

               k.     Paying late fees and declined payment fees imposed as a result of failed

       automatic payments that were tied to compromised cards that had to be cancelled; and

               l.     Closely reviewing and monitoring bank accounts and credit reports for

       unauthorized activity for years to come.

       91.     In addition, Plaintiff and Class Members also suffered a loss of value of their

Private Information when it was acquired by cyber thieves in the Data Breach. Numerous courts

have recognized the property of loss of value damages in related cases.

       92.     Plaintiff and Class Members are forced to live with the anxiety that their Private

Information—which contains the most intimate details about a person’s life—may be disclosed to

the entire world, thereby subjecting them to embarrassment and depriving them of any right to

privacy whatsoever.

       93.     Defendant’s delay in identifying and reporting the Data Breach is causing

additional harm. In a data breach, time is of the essence to reduce the imminent misuse of Private




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Information. Early notification helps a victim of a Data Breach mitigate their injuries, and in the

converse, delayed notification causes more harm and increases the risk of identity theft. Here,

Defendant knew of the breach and has not notified Plaintiff and Class Members of the details of

the Data Breach. They have yet to offer an explanation for the delay. This delay violates HIPAA

and other notification requirements and increases the injuries to Plaintiff and Class.

                   PLAINTIFF ALEXANDER THOMAS’ EXPERIENCE

       94.     Plaintiff Alexander Thomas is and at all times mentioned herein was an adult

individual and a natural person residing in Brooklyn, New York where he intends to remain.

       95.     Plaintiff provided his Private Information to Defendant as a condition of being a

student at NYU.

       96.     Plaintiff only allowed Defendant to maintain, store, and use his Private Information

because he believed that Defendant would use at least basic security measures to protect his Private

Information, such as requiring passwords and multi-factor authentication to access databases that

stored his Private Information. As a result, Plaintiff’s Private Information was within the

possession and control of Defendant at the time of the Data Breach.

       97.     Plaintiff is aware that cybercriminals often sell Private Information, and once

stolen, it is likely to be abused months or even years after Defendant’s Data Breach.

       98.     Plaintiff entrusted his Private Information and other confidential information to

Defendant with the reasonable expectation and understanding that Defendant or its agents, would

take industry-standard precautions to protect, maintain, and safeguard that information from

unauthorized users or disclosure, and would timely notify him of any data security incidents related

to his Private Information.

       99.     Plaintiff would not have allowed Defendant to collect and maintain his Private




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Information had he known that Defendant would not take reasonable steps to safeguard his Private

Information.

        100.    In the instant that his Private Information was accessed and obtained by a third

party without his consent or authorization, Plaintiff suffered injury from a loss of privacy.

        101.    Plaintiff has been further injured by the damages to and diminution in value of his

Private Information—a form of intangible property that Plaintiff entrusted to Defendant. This

information has inherent value that Plaintiff was deprived of when his Private Information was

placed on a publicly accessible database, exfiltrated by cybercriminals, and, upon information and

belief, later placed for sale on the dark web.

        102.    The Data Breach has caused Plaintiff to suffer imminent and impending injury in

the form of substantially increased risk of additional future fraud, identity theft, and misuse

resulting from his Private Information being placed in the hands of criminals.

        103.    As a result of the actual harm suffered and the increased imminent risk of future

harm, Plaintiff has spent time and effort checking his accounts and otherwise mitigating the

harmful effects of the Data Breach.

        104.    In addition, Plaintiff has spent significant time dealing with issues related to the

Data Breach, including time spent verifying the legitimacy of the Data Breach Notice Letter and

self-monitoring his own accounts and credit reports to ensure no fraudulent activity has occurred.

This time, which has been lost forever and cannot be recaptured, was incurred as a result of the

Data Breach.

        105.    The substantial risk of imminent harm and loss of privacy have both caused Plaintiff

to suffer stress, fear, and anxiety, especially the indefinite prospect of Plaintiff’s Private

Information being available to third parties for the rest of his life.




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       106.    Plaintiff has a continuing interest in ensuring that his Private Information, which,

upon information and belief, remains backed up in Defendant’s possession, is protected and

safeguarded from future breaches.

                                     CLASS ALLEGATIONS

       107.    Plaintiff brings this case individually and, pursuant to Federal Rule of Civil

Procedure 23, on behalf of the following Class:

       All individuals residing in the United States whose PII was accessed and/or
       acquired by an unauthorized party as a result of the Data Breach reported by
       Defendant in March 2025 (the “Class”)..

       108.    Excluded from the Class is Defendant, its subsidiaries and affiliates, its officers,

directors and members of their immediate families and any entity in which Defendant has a

controlling interest, the legal representative, heirs, successors, or assigns of any such excluded

party, the judicial officer(s) to whom this action is assigned, and the members of their immediate

families.

       109.    Plaintiff reserves the right to modify or amend the definition of the proposed Class

prior to moving for class certification.

       110.    Numerosity.      The class described above is so numerous that joinder of all

individual members in one action would be impracticable. The disposition of the individual claims

of the respective Class Members through this class action will benefit both the parties and this

Court. It is believed the class size consists of over 3 million class members. The exact size of the

Class and the identities of the individual members thereof are ascertainable through Defendant’s

records, including but not limited to, the files implicated in the Data Breach.

       111.    Commonality. This action involves questions of law and fact that are common to

the Class Members. Such common questions include, but are not limited to:




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               a.      Whether Defendant had a duty to protect the Private Information of Plaintiff

       and Class Members;

               b.      Whether Defendant had a duty to maintain the confidentiality of Plaintiff

       and Class Members’ Private Information;

               c.      Whether Defendant was negligent in collecting, storing and safeguarding

       Plaintiff’s and Class Members’ Private Information, and breached its duties thereby;

               d.      Whether Plaintiff and Class Members are entitled to damages as a result of

       Defendant’s wrongful conduct;

               e.      Whether Plaintiff and Class Members are entitled to restitution or

       disgorgement as a result of Defendant’s wrongful conduct; and

               f.      Whether Plaintiff and Class Members are entitled to injunctive relief to

       redress the imminent and currently ongoing harm faced as a result of the Data Breach.

       112.    Typicality. Plaintiff’s claims are typical of the claims of the Class Members. The

claims of the Plaintiff and members of the Class are based on the same legal theories and arise

from the same failure by Defendant to safeguard Private Information. Plaintiff and Class Members

were all current and former students of Defendant, each having their Private Information obtained

by an unauthorized third party.

       113.    Adequacy of Representation. Plaintiff is an adequate representative of the Class

because his interests do not conflict with the interests of the other Class Members he seeks to

represent; Plaintiff has retained counsel competent and experienced in complex class action

litigation; Plaintiff intends to prosecute this action vigorously; and Plaintiff’s counsel has adequate

financial means to vigorously pursue this action and ensure the interests of the Class will not be




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harmed. Furthermore, the interests of the Class Members will be fairly and adequately protected

and represented by Plaintiff and Plaintiff’s counsel.

          114.   Predominance.      Common questions of law and fact predominate over any

questions affecting only individual Class Members. For example, Defendant’s liability and the fact

of damages is common to Plaintiff and each member of the Class. If Defendant breached its

common law and statutory duties to secure Private Information on its network server, then Plaintiff

and each Class Member suffered damages from the exposure of sensitive Private Information in

the Data Breach.

          115.   Superiority. Given the relatively low amount recoverable by each Class Member,

the expenses of individual litigation are insufficient to support or justify individual suits, making

this action superior to individual actions.

          116.   Manageability. The precise size of the Class is unknown without the disclosure of

Defendant’s records. The claims of Plaintiff and the Class Members are substantially identical as

explained above. Certifying the case as a class action will centralize these substantially identical

claims in a single proceeding and adjudicating these substantially identical claims at one time is

the most manageable litigation method available to Plaintiff and the Class.

                                FIRST CAUSE OF ACTION
                          NEGLIGENCE AND NEGLIGENCE PER SE
                             (On Behalf of Plaintiff and the Class)

          117.   Plaintiff restates and realleges all proceeding allegations above as if fully set forth

herein.

          118.   Defendant owed a duty under common law to Plaintiff and Class Members to

exercise reasonable care in obtaining, retaining, securing, safeguarding, deleting, and protecting




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their Private Information in its possession from being compromised, lost, stolen, accessed, and

misused by unauthorized persons.

       119.    Defendant’s duty to use reasonable care arose from several sources, including but

not limited to those described below.

       120.    Defendant had a common law duty to prevent foreseeable harm to others. This duty

existed because Plaintiff and Class Members were the foreseeable and probable victims of any

inadequate security practices on the part of Defendant. By collecting and storing Private

Information that is routinely targeted by criminals for unauthorized access, Defendant was

obligated to act with reasonable care to protect against these foreseeable threats.

       121.    Defendant breached the duties owed to Plaintiff and Class Members and thus was

negligent. Defendant breached these duties by, among other things: (a) mismanaging its system

and failing to identify reasonably foreseeable internal and external risks to the security,

confidentiality, and integrity of student and applicant information that resulted in the unauthorized

access and compromise of Private Information; (b) mishandling its data security by failing to

assess the sufficiency of its safeguards in place to control these risks; (c) failing to design and

implement information safeguards to control these risks; (d) failing to adequately test and monitor

the effectiveness of the safeguards’ key controls, systems, and procedures; (e) failing to evaluate

and adjust its information security program in light of the circumstances alleged herein; (f) failing

to detect the breach at the time it began or within a reasonable time thereafter; and (g) failing to

follow its own privacy policies and practices published to its current and former students.

       122.    But for Defendant’s wrongful and negligent breach of its duties owed to Plaintiff

and Class Members, their Private Information would not have been compromised and/or stolen.




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         123.   Section 5 of the FTC Act prohibits “unfair . . . practices in or affecting commerce”

including, as interpreted and enforced by the FTC, the unfair act or practice by entities such as

Defendant or failing to use reasonable measures to protect PII and PHI. Various FTC publications

and orders also form the basis of Defendant’s duty.

         124.   Defendant violated Section 5 of the FTC Act by failing to use reasonable measures

to protect the Private Information and not complying with the industry standards. Defendant’s

conduct was particularly unreasonable given the nature and amount of Private Information it

obtained and stored and the foreseeable consequences of a data breach involving the Private

Information of its students and applicants.

         125.   Plaintiff and members of the Class are consumers within the class of persons

Section 5 of the FTC Act was intended to protect.

         126.   Defendant’s violation of Section 5 of the FTC Act constitutes negligence per se.

         127.   The harm that has occurred as a result of Defendant’s conduct is the type of harm

that the FTC Act was intended to guard against.

         128.   Defendant violated its own policies not to use or disclose Private Information

without written authorization.

         129.   Defendant violated its own policies by actively disclosing Plaintiff’s and the Class

Members’ Private Information; by failing to provide fair, reasonable, or adequate computer

systems and data security practices to safeguard Plaintiff’s and Class Members’ Private

Information; failing to maintain the confidentiality of Plaintiff’s and the Class Members’ records;

and by failing to provide timely notice of the breach of Private Information to Plaintiff and the

Class.




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       130.    As a direct and proximate result of Defendant’s negligence, Plaintiff and Class

Members have suffered injuries, including:

               a.     Theft of their Private Information;

               b.     Costs associated with the detection and prevention of identity theft and

       unauthorized use of the financial accounts;

               c.     Costs associated with purchasing credit monitoring and identity theft

       protection services;

               d.     Lowered credit scores resulting from credit inquiries following fraudulent

       activities;

               e.     Costs associated with time spent and the loss of productivity from taking

       time to address and attempt to ameliorate, mitigate, and deal with the actual and future

       consequences of the Defendant Data Breach – including finding fraudulent charges,

       cancelling and reissuing cards, enrolling in credit monitoring and identity theft protection

       services, freezing and unfreezing accounts, and imposing withdrawal and purchase limits

       on compromised accounts;

               f.     The imminent and certainly impending injury flowing from the increased

       risk of potential fraud and identity theft posed by their Private Information being placed in

       the hands of criminals;

               g.     Damages to and diminution in value of their Private Information entrusted,

       directly or indirectly, to Defendant with the mutual understanding that Defendant would

       safeguard Plaintiff’s and Class Members’ data against theft and not allow access and

       misuse of their data by others;




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                 h.      Continued risk of exposure to hackers and thieves of their Private

          Information, which remains in Defendant’s possession and is subject to further breaches

          so long as Defendant fails to undertake appropriate and adequate measures to protect

          Plaintiff’s and Class Members’ data;

                 i.      Loss of their privacy and confidentiality in their Private Information;

                 j.      The erosion of the essential and confidential relationship between

          Defendant – as a educational provider – and Plaintiff and Class Members as students and

          applicants; and

                 k.      Loss of personal time spent carefully reviewing statements from health

          insurers and providers to check for charges for services not received.

          131.   As a direct and proximate result of Defendant’s negligence, Plaintiff and Class

Members are entitled to damages, including compensatory, punitive, and nominal damages, in an

amount to be proven at trial.

                                 SECOND CAUSE OF ACTION
                              BREACH OF IMPLIED CONTRACT
                               (On Behalf of Plaintiff and the Class)

          132.   Plaintiff restates and realleges all proceeding allegations above as if fully set forth

herein.

          133.   When Plaintiff and members of the Class provided their personal information to

Defendant, Plaintiff and members of the Class entered into implied contracts with Defendant

pursuant to which Defendant agreed to safeguard and protect such information and to timely and

accurately notify Plaintiff and Class Members that their data had been breached and compromised.

          134.   Defendant required Plaintiff and Class Members to provide and entrust their Private

Information as a condition of obtaining employment and/or services from Defendant.




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          135.   Plaintiff and Class Members would not have provided and entrusted their Private

Information to Defendant in the absence of the implied contract between them and Defendant.

          136.   Plaintiff and members of the Class fully performed their obligations under the

implied contracts with Defendant.

          137.   Defendant breached the implied contracts it made with Plaintiff and Class Members

by failing to safeguard and protect the Private Information of Plaintiff and members of the Class

and by failing to provide timely notice to them that their Private Information was compromised in

and as a result of the Data Breach.

          138.   As a direct and proximate result of Defendant’s breach of the implied contracts,

Plaintiff and Class Members are entitled to damages, including compensatory, punitive, and/or

nominal damages, and/or disgorgement or restitution, in an amount to be proven at trial.

                                  THIRD CAUSE OF ACTION
                                    UNJUST ENRICHMENT
                               (On Behalf of Plaintiff and the Class)

          139.   Plaintiff restates and realleges all proceeding allegations above as if fully set forth

herein.

          140.   This count is brought in the alternative to Plaintiff’s breach of implied contract

count. If claims for breach of contract are ultimately successful, this count will be dismissed.

          141.   Plaintiff and Class Members conferred a benefit on Defendant by way of students

and applicants paying Defendant to maintain Plaintiff’s and Class Members’ Private Information.

          142.   The monies paid to Defendant were supposed to be used by Defendant, in part, to

pay for the administrative and other costs of providing reasonable data security and protection to

Plaintiff and Class Members.




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          143.   Defendant failed to provide reasonable security, safeguards, and protections to the

personal information of Plaintiff and Class Members, and as a result Defendant was overpaid.

          144.   Under principles of equity and good conscience, Defendant should not be permitted

to retain the money because Defendant failed to provide adequate safeguards and security

measures to protect Plaintiff’s and Class Members’ Private Information that they paid for but did

not receive.

          145.   Defendant wrongfully accepted and retained these benefits to the detriment of

Plaintiff and Class Members.

          146.   Defendant’s enrichment at the expense of Plaintiff and Class Members is and was

unjust.

          147.   As a result of Defendant’s wrongful conduct, as alleged above, Plaintiff and the

Class are entitled to restitution and disgorgement of profits, benefits, and other compensation

obtained by Defendant, plus attorneys’ fees, costs, and interest thereon.

                           FOURTH CAUSE OF ACTION
                 DECLARATORY JUDGMENT AND INJUNCTIVE RELIEF
                         (On Behalf of Plaintiff and the Class)

          148.   Plaintiff restates and realleges all proceeding allegations above as if fully set forth

herein.

          149.   This Court is authorized to declare rights, status, and other legal relations, and such

declarations shall have the force and effect of a final judgment or decree. Furthermore, the Court

has broad authority to restrain acts, such as here, that are tortious and violate the terms of the

federal and state statutes described in this Complaint.

          150.   An actual controversy has arisen in the wake of the Data Breach regarding

Plaintiff’s and Class Members’ Private Information and whether Defendant is currently




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maintaining data security measures adequate to protect Plaintiff and Class Members from further

data breaches that compromise their Private Information. Plaintiff alleges that Defendant’s data

security measures remain inadequate, contrary to Defendant’s assertion that it has confirmed the

security of its network. Furthermore, Plaintiff continues to suffer injury as a result of the

compromise of Private Information and remains at imminent risk that further compromises of

Private Information will occur in the future.

       151.    Pursuant to its authority, this Court should enter a judgment declaring, among other

things, the following:

               a.        Defendant owes a legal duty to secure Private Information and to timely

       notify students, applicants, or any individuals impacted by the Data Breach under the

       common law, Section 5 of the FTC Act, HIPAA, various state statutes, and the common

       law; and

               b.        Defendant continues to breach this legal duty by failing to employ

       reasonable measures to secure current and former students’ Private Information.

       152.    This Court also should issue corresponding prospective injunctive relief requiring

Defendant to, at minimum 1) disclose, expeditiously, the full nature of the Data Breach, including

when the Data Breach occurred, and the types of Private Information accessed, obtained, or

exposed by the hackers; 2) implement improved data security practices to reasonably guard against

future breaches of Plaintiff’s and Class Members’ Private Information possessed by Defendant;

and 3) provide, at its own expense, all impacted victims with lifetime identity theft protection

services.

       153.    If an injunction is not issued, Plaintiff will suffer irreparable injury, and lack an

adequate legal remedy, in the event of another data breach at Defendant. The risk of another such




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breach is real, immediate, and substantial. If another breach at Defendant occurs, Plaintiff will not

have an adequate remedy at law because many of the resulting injuries are not readily quantified,

and they will be forced to bring multiple lawsuits to rectify the same conduct.

        154.      The hardship to Plaintiff if an injunction is not issued exceeds the hardship to

Defendant if an injunction is issued. Plaintiff will likely be subjected to substantial identity theft

and other damage. On the other hand, the cost to Defendant of complying with an injunction by

employing reasonable prospective data security measures is relatively minimal, and Defendant has

a pre-existing legal obligation to employ such measures.

        155.      Issuance of the requested injunction will not disserve the public interest. To the

contrary, such an injunction would benefit the public by preventing another data breach at

Defendant, thus eliminating the additional injuries that would result to Plaintiff and Class Members

whose confidential information would be further compromised.

                                      PRAYER FOR RELIEF

        WHEREFORE, Plaintiff, on behalf of himself and all other similarly situated, pray for

relief as follows:

                  a.     For an order certifying the Class under Federal Rule of Civil Procedure 23

        and naming Plaintiff as the representative of the Class and Plaintiff’s attorneys as Class

        Counsel to represent the Class;

                  b.     For an order finding in favor of Plaintiff and the Class on all counts asserted

        herein;

                  c.     For compensatory, statutory, treble, and/or punitive damages in amounts to

        be determined by the trier of fact;




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             d.      For an order of restitution, disgorgement, and all other forms of equitable

      monetary relief;

             e.      Declaratory and injunctive relief as described herein;

             f.      Awarding Plaintiff’s reasonable attorneys’ fees, costs, and expenses;

             g.      Awarding pre- and post-judgment interest on any amounts awarded; and

             h.      Awarding such other and further relief as may be just and proper.

                                JURY TRIAL DEMANDED

      A jury trial is demanded on all claims so triable.



Dated: March 26, 2025                               Respectfully Submitted,

                                                    /s/ William B. Federman
                                                    William B. Federman
                                                    Tanner R. Hilton (pro hac vice forthcoming)
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